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Approved:                                 22 MAG 10337
            _____________________________
            THOMAS S. BURNETT/NOAH SOLOWIEJCZYK
            Assistant United States Attorneys

Before:     HONORABLE GABRIEL W. GORENSTEIN
            United States Magistrate Judge
            Southern District of New York

- - - - - - - - - - - - - - - - - -        X
                                               SEALED COMPLAINT
UNITED STATES OF AMERICA                   :
                                           :
                                               Violation of 7 U.S.C.
          - v. -                           :
                                               §§ 9(1), 13(a)(2),
                                           :
                                               13(a)(5); 17 C.F.R.
AVRAHAM EISENBERG,                         :
                                               § 180.1; 18 U.S.C. § 2
                                           :
                                           :
                                               COUNTY OF OFFENSE:
                     Defendant.            :   New York
- - - - - - - - - - - - - - - - - -        X


SOUTHERN DISTRICT OF NEW YORK, ss.:

          BRANDON RACZ, being duly sworn, deposes and says that he
is a Special Agent with the Federal Bureau of Investigation (“FBI”)
and charges as follows:

                              COUNT ONE
                         (Commodities Fraud)

          1.   In or about October 2022, in the Southern District
of New York and elsewhere, AVRAHAM EISENBERG, the defendant,
willfully and knowingly, directly and indirectly, used and
employed, and attempted to use and employ, in connection with a
swap, a contract of sale of a commodity in interstate and foreign
commerce, and for future delivery on and subject to the rules of
a registered entity, a manipulative and deceptive device and
contrivance, in contravention of Title 17, Code of Federal
Regulations, Section 180.1, by: (1) using and employing, and
attempting to use and employ, a manipulative device, scheme, and
artifice to defraud; (2) making, and attempting to make, untrue
and misleading statements of material fact and omitting to state
material facts necessary in order to make the statements made not
untrue or misleading; and (3) engaging, and attempting to engage
in acts, practices, and courses of business which operated and
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would operate as a fraud and deceit upon other persons, to wit,
EISENBERG engaged in a scheme involving the intentional and
artificial manipulation of the price of perpetual futures
contracts on a cryptocurrency exchange called Mango Markets, and
other manipulative and deceptive devices and contrivances.

(Title 7, United States Code, Sections 9(1) and 13(a)(5); Title
17, Code of Federal Regulations, Section 180.1; Title 18, United
                    States Code, Section 2.)

                              COUNT TWO
                     (Commodities Manipulation)

          2.   In or about October 2022, in the Southern District
of New York and elsewhere, AVRAHAM EISENBERG, the defendant, did
knowingly and intentionally manipulate and attempt to manipulate
the price of a commodity in interstate commerce, and for future
delivery on and subject to the rules of a registered entity, and
of a swap, to wit, EISENBERG engaged in a scheme involving the
intentional and artificial manipulation of the price of perpetual
futures contracts on a cryptocurrency exchange called Mango
Markets.

(Title 7, United States Code, Section 13(a)(2); Title 18, United
                    States Code, Section 2.)

     The bases for my knowledge and for the foregoing charge are,
in part, as follows:

           3.   I am a Special Agent with the FBI and I have been
personally involved in the investigation of this matter.       This
affidavit is based upon my personal participation in the
investigation, and my conversations with law enforcement officers,
law enforcement employees, and witnesses, as well as a review of
documents.    Because this affidavit is being submitted for the
limited purpose of establishing probable cause, it does not include
all the facts that I have learned during the course of this
investigation. Where the actions, statements, and conversations
of others are reported herein, they are reported in substance and
in part, except where otherwise indicated.

        Overview of the Mango Markets Manipulation Scheme

          4.   As described in greater detail below, Mango Markets
is a decentralized cryptocurrency exchange that has its own native
crypto token, called MNGO. Investors can buy and sell MNGO and
other cryptocurrencies on Mango Markets.      Investors on Mango

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Markets can also buy and sell perpetual futures (“Perpetuals”)
based on the relationship between the value of MNGO and the value
of a crypto stablecoin called USD Coin (“USDC”), which is designed
to be pegged to the dollar.     Perpetuals are “swaps” under the
Commodity Exchange Act. An investor who buys a Perpetual for MNGO
stands to profit if the value of MNGO rises relative to the value
of USDC, and an investor who sells a Perpetual for MNGO stands to
profit if the value of MNGO falls relative to the value of USDC.
Finally, Mango Markets allows investors to borrow cryptocurrency
from the exchange, in amounts based on the value of the borrower’s
portfolio, and to withdraw that borrowed cryptocurrency.

          5.   As explained in greater detail below, in or about
October 2022, AVRAHAM EISENBERG, the defendant, participated in a
scheme to steal approximately $110 million by artificially
manipulating the price of MNGO Perpetuals on Mango Markets (the
“Market Manipulation Scheme”).    The scheme worked as follows:
EISENBERG used an account that he controlled on Mango Markets to
sell a large amount of Perpetuals for MNGO and used a separate
account on Mango Markets to purchase those same Perpetuals. In
other words, EISENBERG sold himself MNGO Perpetuals.     EISENBERG
then engaged in a series of large purchases of MNGO, with the
objective of artificially increasing the price of MNGO relative to
USDC, which had the effect of increasing the price of MNGO
Perpetuals on Mango Markets. That purchasing achieved the desired
effect, causing the price of MNGO Perpetuals on Mango Markets to
increase precipitously over the course of approximately 20
minutes.   Over that time span of approximately 20 minutes, the
price of MNGO Perpetuals rose from approximately 0.0382 USDC/MNGO
to approximately 0.54 USDC/MANGO, an increase of approximately
1300 percent.

          6.   As the price of MNGO Perpetuals on Mango Markets
rose as a result of the Market Manipulation Scheme perpetrated by
AVRAHAM EISENBERG, the defendant, the value of the MNGO Perpetuals
that EISENBERG had purchased also rose.      Because Mango Markets
allows investors to borrow and withdraw cryptocurrency based on
the value of their assets on the platform, the increase in the
value of the MNGO Perpetuals EISENBERG had purchased allowed
EISENBERG to borrow, then withdraw, approximately $110 million
worth of various cryptocurrencies from Mango Markets, which came
from deposits of other investors in the Mango Markets exchange.
When EISENBERG borrowed and withdrew that cryptocurrency, he had
no intention to repay the borrowed funds.       Accordingly, after
EISENBERG   borrowed   and  withdrew    essentially  all   of   the
cryptocurrency deposits on the Mango Markets platform, EISENBERG
ceased manipulating the price of MNGO Perpetuals, causing the price

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of MNGO Perpetuals to fall significantly.    Due to EISENBERG’s
withdrawals, other investors with deposits on Mango Markets lost
much, or all, of those deposits.

                    Background on Mango Markets

           7.  Based   on   my   training  and   experience,   my
participation in this investigation, my review of publicly
available records (including the Mango Markets website), and my
participation in discussions with individuals knowledgeable about
Mango Markets, I have learned, in substance and in part, the
following:

               a.    Mango    Markets    is     a    decentralized
cryptocurrency exchange that allows investors to lend, borrow,
swap, and leverage-trade cryptocurrency assets. Mango Markets is
run by the Mango Decentralized Autonomous Organization (the “Mango
DAO”).    A decentralized autonomous organization, or “DAO,”
generally refers to an entity structure in which there is no
central decision-making authority, and such authority is instead
distributed across digital token holders, who cast votes to make
decisions. In the context of the Mango DAO, for instance, holders
of MNGO are allowed to vote on changes to Mango Markets and issues
related to the governance of the Mango DAO, among other things.

               b.   To use Mango Markets, an investor must connect
a cryptocurrency wallet to the exchange, create a Mango Markets
account, and deposit cryptocurrency into that account. Once an
investor has created and funded a Mango Markets account, the
investor can trade different types of cryptocurrencies, including
the MNGO token, on the Mango Markets exchange.

               c.   One type of trade investors can make is known
as a “spot” trade.   In a spot trade, an investor exchanges one
cryptocurrency for another, at whatever the prevailing exchange
rate between those two cryptocurrencies is at the time of the
transaction. Investors can also make leveraged spot trades, in
which the investor’s deposits and other positions are used as
collateral, allowing the investor to buy more of another
cryptocurrency on margin than the investor could purchase through
a one-for-one exchange.

                d.   Another type of trade available on Mango
Markets is a perpetual futures contract, or “Perpetual” for short.
When an investor buys or sells a Perpetual for a particular
cryptocurrency, the investor is not buying or selling that
cryptocurrency.    Instead, the investor is buying or selling

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exposure to future movements in the value of that cryptocurrency
relative to another cryptocurrency. For example, if an investor
buys a MNGO Perpetual at a price of 0.02 USDC/MNGO, the investor
is “long” on MNGO, and the value of that perpetual will rise if
the value of MNGO rise above 0.02 USDC/MNGO. Conversely, if an
investor sells a MNGO Perpetual at a particular price, the investor
is “short” on MNGO, and the value of that Perpetual will rise if
the value of MNGO falls relative to USDC. Like with spot trading,
investors on Mango Markets can also make leveraged Perpetuals
trades, in which the investor’s deposits and other positions act
as collateral, thereby allowing the investor to buy a larger
Perpetual position than the value of those deposits.

               e.    For the reasons given above, the price of a
Perpetual at any particular time depends on, among other things,
the relative value of two cryptocurrencies.      To determine the
relative value of cryptocurrency pairs for purpose of pricing
Perpetuals, Mango Markets uses an “oracle,” which is a computer
program that calculates the relative value of cryptocurrency
pairings by looking at the exchange rate of those cryptocurrencies
on various cryptocurrency exchanges (the “Oracle”).       When the
Oracle price changes for a particular cryptocurrency pairing, the
price of Perpetuals in that cryptocurrency pairing also changes on
Mango Markets.    Accordingly, changes in the relative price of
cryptocurrency pairs on other exchanges impact the price of
Perpetuals on the Mango Markets platform.

               f.    In addition to allowing investors to use
deposits and other positions as collateral for leveraged trades,
Mango Markets also allows investors to use those deposits and
positions   as    collateral  for   borrowing    and   withdrawing
cryptocurrency from the Mango Markets exchange. To borrow through
Mango Markets, investors must access the Mango Markets website and
click a button labeled “borrow” that allows the user to borrow
cryptocurrency. The user can withdraw the cryptocurrency the user
has borrowed by clicking another button labeled “withdraw.” The
cryptocurrency that investors borrow through Mango Markets comes
from cryptocurrency that other investors have deposited in Mango
Markets accounts.

               g.    The amount that an investor on Mango Markets
can withdraw is determined by a formula that looks at, among other
things, the value of the cryptocurrency deposited in the investor’s
account, the value of the investor’s positions on Mango Markets,
and the amount of cryptocurrency that the investor has already
borrowed through Mango Markets. Mango Markets uses a formula to
track the relationship between these assets and liabilities, which

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Mango Markets labels the “health” of the account. If the “health”
of a Mango Markets account falls below zero, the investor’s
positions on Mango Markets can be liquidated.

          8.   I understand that virtual currencies, such as USDC,
are “commodities” under the Commodity Exchange Act (“CEA”). See,
e.g., C.F.T.C. v. McDonnell, 287 F. Supp. 3d 213 (E.D.N.Y. 2018)
(“A ‘commodity’ encompasses virtual currency both in economic
function and in the language of the statute.”); United States v.
Reed, No. 20 Cr. 500 (JGK), 2022 WL 597180, at *3 (S.D.N.Y. Feb.
28, 2022) (finding “defendant had ample notice from the broad
definition of commodities under the CEA that cryptocurrencies were
within the definition of commodities”). Accordingly, Perpetuals
based on the relative value of MNGO and USDC are “swaps” under the
CEA. See 7 U.S.C. § 1(47)(A).

              EISENBERG’s Market Manipulation Scheme

          9.    Based on my review of records and data from a
company called Circle, I have learned, in substance and in part,
the following:
               a.   Circle provides a platform that allows
individuals to create accounts, in which they can purchase, sell,
store, and transfer the crypto stablecoin USDC.

               b.   In or about 2019, AVRAHAM EISENBERG, the
defendant, opened an account at Circle (“Circle Account-1”). I
know that EISENBERG is the user of Subject Account-1 because the
account opener used the name “Avraham Eisenberg” and provided a
photograph of EISENBERG’s passport.      I have reviewed that
photograph and recognize the person pictured on the passport as
EISENBERG.

          10.    Based on my review of publicly available trading
data, data from a cryptocurrency exchange (“Exchange-1”), and data
from Circle, I have learned that, on or about October 11, 2022,
AVRAHAM EISENBERG, the defendant, created a large Perpetual
position based on the relative value of MNGO and USDC by funding
two Mango Markets accounts and selling a large amount of Perpetuals
from one to the others. Specifically, I have learned, in substance
and in part, the following:




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               a.   On or about October 11, 2022, in the late
morning and early afternoon, 1 Circle Account-1, which belongs to
EISENBERG, sent approximately 14,179,322 USDC to a cryptocurrency
wallet that then sent approximately 12,499,900 USDC to an account
at Exchange-1 (the “Exchange-1 Account”) which as explained below,
is also controlled by EISENBERG.

               b.    Between approximately 3:36 p.m. and 3:50 p.m.,
Exchange-1 Account sent approximately 5,524,838 USDC to a
cryptocurrency wallet (“Solana Wallet-1”) on the blockchain known
as Solana, which is the blockchain on which Mango Markets is built.

               c.   At approximately 3:47 p.m., the Exchange-1
Account sent approximately 4,999,999.95 USDC to another wallet on
the Solana blockchain (“Solana Wallet-2”).

               d.   Between approximately 6:08 p.m. and 6:18 p.m.,
the Exchange-1 Account sent approximately 5,000,100 USDC to a Mango
Markets account (“Mango Account-1”).

               e.   Between approximately 6:07 p.m. and 6:18 p.m.,
Solana Wallet-2 sent approximately 4,999,998.95 USDC to a
different Mango Markets account (“Mango Account-2”).

               f.   Between approximately 6:24 p.m. and 6:25 p.m.,
Mango Account-2 sold to Mango Account-1 Perpetuals based on the
relative value of MNGO and USDC. The Perpetuals were based on a
total of approximately 488,302,109 MNGO, at a price of 0.0382
USDC/MNGO. Accordingly, Mango Account-1 held a “long” position,
the value of which would rise if the value of MNGO relative to
USDC rose above 0.0382 USDC/MNGO (the “Long MNGO Perpetual
Position”). Mango Account-2 held a “short” position, the value of
which would rise if the value of MNGO relative to USDC fell below
0.0382 USDC/MNGO (the “Short MNGO Perpetual Position”).

               g.   Because the USDC that funded both Mango
Account-1 and Mango Account-2 originated with EISENBERG’s account
at Circle, it appears that EISENBERG controlled or at a minimum
funded both Mango Account-1 and Mango Account-2.     Accordingly,
EISENBERG was on both sides of the MNGO Perpetual transaction
described above.




1 All times are in Eastern Time and, based on my review of travel
records, I have learned that EISENBERG was in Puerto Rico at the
time of the Market Manipulation Scheme.

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          11. As    described   in the  following  paragraphs,
immediately after the creation of the Long and Short MNGO
Perpetuals, AVRAHAM EISENBERG, the defendant, used USDC to
purchase large amounts of MNGO on multiple cryptocurrency
exchanges, which had the effect of artificially increasing the
value of MNGO relative to USDC.

          12. Based on my review of publicly available trading
data on the Solana blockchain and my review of publicly available
documents (including from Mango Markets), I have learned, in
substance and in part, the following:

                a.   Aggregator-1 is a program that allows users to
buy and sell cryptocurrency across a number of different
cryptocurrency    exchanges  simultaneously.      Aggregator-1   is
available through the Mango Markets, as another way for Mango
Markets investors to buy and sell cryptocurrency.       One of the
cryptocurrency exchanges through which Aggregator-1 transacts is
one of the programs from which the Oracle gathered data for pricing
Perpetuals.

               b.   As explained above, on or about October 11,
2022, Circle Account-1, which was the account belonging to AVRAHAM
EISENBERG, the defendant, at Circle, sent USDC to the Exchange-1
Account, which then sent USDC to Solana Wallet-1.

               c.   Between    approximately    6:26   p.m.    and
approximately 6:45 p.m., on or about October 11, 2022, the user of
Solana Wallet-1 executed multiple transactions on Jupiter
Aggregator, in which the user of Solana Wallet-1 sold USDC for a
total of over 3.4 million MNGO.

               d.   At the same time as the user of Solana Wallet-
1 was purchasing a large volume of MNGO through Aggregator-1, the
value of MNGO relative to USDC rose from a low of approximately
0.0389 USDC/MNGO to a high of approximately 0.91 USDC/MNGO on the
exchange utilized by the Oracle for pricing Perpetuals.

          13. Based on my review of data and records from a
cryptocurrency exchange that has offices in, among other
locations, Manhattan, New York (“Exchange-2”), communications with
representatives of Exchange-2, and publicly available documents
(including from Mango Markets), I have learned, in substance and
in part, the following:

               a.   Exchange-2 was one of the exchanges from which
the Oracle gathered data for pricing Perpetuals.

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               b.   On or about October 11, 2022, an individual
opened and funded an anonymous account on Exchange-2 (the
“Exchange-2 Account”).

               c.   Between    approximately    6:26   p.m.    and
approximately 6:45 p.m., the Exchange-2 Account sold USDT for over
1 million MNGO. During that period, the price of MNGO rose from
a low of approximately 0.04 USDT/MNGO to a high of approximately
0.45 USDT/MNGO. Like USDC, USDT is a stablecoin designed to be
pegged to the dollar.

               d.   I have learned that AVRAHAM EISENBERG, the
defendant, controlled the Exchange-2 Account.     Specifically, I
have learned, in substance and in part, that following the Market
Manipulation Scheme, Exchange-2 froze funds in the Exchange-2
Account, and EISENBERG initiated a legal action to try to retrieve
the funds from the account, claiming to be the owner.

               e.   Opening, funding, and trading through Exchange
Account-2 resulted in wires and data being transmitted to, among
other locations, Exchange-2’s office in Manhattan.

          14. Based on my review of data and records from
Exchange-1, records from Google, and publicly available documents
(including from Mango Markets), I have learned, in substance and
in part, the following:

               a.   Exchange-1 was one of the exchanges from which
the Oracle gathered data for pricing Perpetuals.

               b.   As explained above, Circle Account-1, which
belongs to AVRAHAM EISENBERG, the defendant, sent USDC to the
Exchange-1 Account on or about October 11, 2022.

               c.   The Exchange-1 Account was opened on or about
September 19, 2022, using a passport and personal identifying
information that appears to belong to a Ukrainian woman, along
with a particular Gmail address (“Gmail Address-1”).

               d.   Nonetheless, it appears that the Exchange-1
Account is controlled by EISENBERG for the following reasons, among
others:

              i.    As explained  above, EISENBERG’s                  Circle
Account, Circle Account-1, sent over 12 million USDC                 to the
Exchange-1 Account.

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              ii.    Gmail Address-1, which was used to create the
Exchane-1 Account, was created on or about September 1, 2022 —
just a few weeks before the Exchange-1 Account was opened. The
recovery     email     address    for     Gmail    Address-1     is
“avi@thimessolutions.com,” which is registered to EISENBERG.
Similarly, the recovery phone number for Gmail Address-1 is the
same phone number that EISENBERG listed as his contact phone number
for Circle Account-1.     Accordingly, it appears that EISENBERG
actually controls Gmail Address-1, which was then used to create
the Exchange-1 Account.

               e.   Between approximately 6:26 p.m. and 6:40 p.m.,
the Exchange-1 Account sold USDC for a total of over 16 million
MNGO. During that period, the price of MNGO rose from a low of
approximately 0.0388 USDC/MNGO to a high of approximately 0.1557
USDC/MNGO.

          15. By artificially manipulating the value of MNGO
relative to USDC, AVRAHAM EISENBERG, the defendant, also intended
to and did increase the price of MNGO Perpetuals on Mango Markets,
which significantly increased the value of the Long MNGO Perpetual
Position that EISENBERG had purchased, thereby allowing EISENBERG
to borrow and withdraw large amounts of cryptocurrency from Mango
Markets. Specifically, based on my review of publicly available
data from Mango Markets, I have learned, in substance and in part,
the following:

               a.   As explained above, the price of Perpetuals on
Mango Markets was set by the Oracle, which calculates the relative
price of cryptocurrencies by looking at prices on other
cryptocurrency exchanges.

               b.    During the trading described above, the price
of Perpetuals based on the relative value of MNGO and USDC on Mango
Markets rose significantly. Specifically, between approximately
6:26 p.m. and 6:45 p.m., on or about October 11, 2022, the price
of MNGO Perpetuals on Mango Markets rose from approximately 0.0382
USDC/MNGO to a high of approximately 0.54 USDC/MNGO — an increase
of over 1300 percent.

               c.   As the price of MNGO Perpetuals rose, the
value of the Long MNGO Perpetual Position that Mango Account-1 had
purchased rose, accordingly. Because of that increase in value,
EISENBERG, who controlled Mango Account-1, was able to use the
“borrow” and “withdraw” function on Mango Markets to borrow and


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withdraw a large amount of cryptocurrency, without the “health” of
Mango Account-1 dropping low enough to trigger liquidation.

               d.   Following that increase in borrowing power,
EISENBERG borrowed and withdrew approximately $110 million worth
of different cryptocurrencies from Mango Markets. For example:

                  i.     At   approximately   6:29   p.m.,   Mango
Account-1 borrowed and withdrew approximately 50,000,000 USDC from
Mango Markets and sent those assets to Solana Wallet-1.

                 ii.     At  approximately   6:36   p.m.,  Mango
Account-1 borrowed and withdrew approximately 400,000 SOL, which
is the Solana cryptocurrency, from Mango Markets, and sent those
assets to Solana Wallet-1.

                iii.      At  approximately   6:37   p.m.,   Mango
Account-1 borrowed and withdrew approximately 798,000 mSOL, which
is a crypto token on the Solana blockchain, and approximately
282.12 wBTC, which is a cryptocurrency designed to track the value
of Bitcoin, from Mango Markets.

                 iv.     At   approximately  6:41   p.m.,  Mango
Account-1 borrowed and withdrew approximately 2,807,721 USDC and
approximately 3,266,426 USDT, which is a cryptocurrency designed
to track the value of the dollar, from Mango Markets, and sent
those assets to Solana Wallet-1.

                  v.     At   approximately   6:45   p.m.,   Mango
Account-1 borrowed and withdrew approximately 2,354,260 SRM, which
is the native cryptocurrency for a platform called Serum, and
approximately 32,409,565.06 MNGO, from Mango Markets, and sent
those assets to Solana Wallet-1.

               e.  The cryptocurrency that EISENBERG borrowed and
withdrew came from, among other places, the deposits and assets
belonging to other Mango Markets investors.    The user of Mango
Account-1 withdrew effectively all available funds from Mango
Markets.

               f.   While EISENBERG purported to be borrowing the
cryptocurrency, he appeared to have no intention of actually
repaying those loans. Following the withdrawals described above,
Solana Wallet-1, the Exchange-1 Account, and the Exchange-2
Account ceased purchasing MNGO and began to sell MNGO for USDC.
The price of MNGO tokens fell precipitously, causing the price of
MNGO Perpetuals on Mango Markets to fall to approximately 0.02

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USDC/MNGO. As a result, the Long MNGO Perpetual Position dropped
to having a negative value and the “health” of Mango Account-1
fell below zero, making Mango Account-1 subject to liquidation.
There was, however, nothing to liquidate because EISENBERG had
already withdrawn the cryptocurrency.

       EISENBERG Admits to the Market Manipulation Scheme

          16. Based on my review of publicly available posts on
a website where holders of MNGO can vote on Mango DAO proposals,
as well as my communications with individuals who have knowledge
of Mango DAO’s operations, I have learned, in substance and in
part, the following:

               a.   Between on or about October 11 and 13, 2022,
representatives of Mango DAO engaged in negotiations with an
individual purporting to be the perpetrator and others purporting
to be in contact with the perpetrator. The negotiations focused
on, among other things, the perpetrator returning some of the
cryptocurrency from the attack.

               b.   Based on those negotiations, on or about
October 13, 2022, members of the Mango DAO issued a written
proposal on the Mango DAO message board and to the user of Solana
Wallet-1.   The proposal had, among other things, the following
terms: (i) the Mango DAO would receive cryptocurrency worth
approximately $67 million from the user of Solana Wallet-1;
(ii) the funds from the user of Solana Wallet-1 would, in
combination with funds owned by the Mango DAO, be used to, among
other things, repay Mango Market investors who had lost deposits;
(iii) holders of MNGO would agree to waive certain civil claims
and refrain from pursuing criminal investigations or attempting to
freeze assets taken during the scheme. The proposal also called
for the user of Solana Wallet-1 to make a 10,000,000 USDC payment
to a wallet controlled by members of the Mango DAO, no later than
12 hours after the issuance of the proposal, and before a final
vote.

               c.   On or about October 15, 2022, a cryptocurrency
wallet on the Ethereum blockchain (“Ethereum Wallet-1”) sent
approximately 10 million USDC to a wallet controlled by members of
the Mango DAO. Based on the proposal described above, it therefore
appears that the user of Solana Wallet-1 also controls Ethereum
Wallet-1.

               d.   After the transfer described, members of the
Mango DAO voted to approve the October 13, 2022 proposal described

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above. Following that approval, multiple cryptocurrency wallets
sent   the  Mango   DAO  approximately   $57  million  worth   of
cryptocurrency, in addition to the 10 million USDC that Mango DAO
had already received.

               e.   Members of Mango DAO and Mango Markets did not
receive the rest of the cryptocurrency that had been taken, which
amounted to approximately $40 million worth of different
cryptocurrencies.

          17. Shortly after the negotiations described above,
AVRAHAM EISENBERG, the defendant, claimed responsibility for the
Market Manipulation Scheme. Specifically, based on my review of
publicly available information on Twitter, I have learned, in
substance and in part, the following:

               a.    EISENBERG uses a particular Twitter account
(“Twitter Account-1”). EISENBERG appears to be the user of Twitter
Account-1 because the username of the account is “Avraham
Eisenberg” and, in the past, Twitter Account-1 displayed a user
photograph that I know was an image of EISENBERG based on my review
of his passport photograph.

               b.   On or about October 15, 2022 — the same day as
the repayment of some cryptocurrency as described above — Twitter
Account-1 displayed a series of posts stating, in substance and in
part, that the user of Twitter Account-1 had “operated a highly
profitable trading strategy” that “took place on[] Mango Markets”
and resulted in Mango Markets becoming “insolvent.” 2

               c.   Moreover,   EISENBERG’s   posts   on   Twitter
Account-1 show that he was aware of the laws prohibiting market
manipulation. For example, on or about September 1, 2022, Twitter
Account-1 posted a link to a press release from the United States
Attorney’s Office of the Southern District of New York, announcing
charges, including under the CEA, in connection with a defendant
artificially manipulating a foreign currency exchange rate in
order to trigger a payment under an options contract.

          18. Based on my review of travel records, I have learned
that, on or about October 12, 2022 – the day after the Market
Manipulation Scheme – AVRAHAM EISENBERG, the defendant, flew from

2 The posts also stated, in substance and in part, that the user
of Twitter Account-1 had helped negotiate an agreement to make
users of Mango Markets whole and that the user of Twitter Account-
1 believed all of his actions were legal.

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 the United States to Israel. Based on the timing of the flight,
 the travel appears to have been an effort to avoid apprehension by
 law enforcement in the immediate aftermath of the Market
 Manipulation Scheme.

           WHEREFORE, the deponent respectfully requests that a
 warrant be issued for the arrest of AVRAHAM EISENBERG, the
 defendant, and that he be arrested, and imprisoned or bailed, as
 the case may be.




                                   /s/ Brandon Racz (sworn telephonically)
                                   _______________________________
                                   BRANDON RACZ
                                   Special Agent
                                   FBI

  Sworn to me through the transmission of this
  Affidavit by reliable electronic means, pursuant to
  Federal Rules of Criminal Procedure 4.1 and 41(d)(3), this
  ___th day of December, 2022
23rd



 _____________________________________
 THE HONORABLE GABRIEL W. GORENSTEIN
 UNITED STATES MAGISTRATE JUDGE
 SOUTHERN DISTRICT OF NEW YORK




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